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% A 0 2458    (Rev. 06105) Judgment in a Criminal Case
              Sheet 1




                         SOUTHERN                                 District of                                    ILLINOIS

         UNITED STATES OF AMEFUCA                                          JUDGMENT IN A CRIMINAL CASE
                              v.
                    SCOTT R. DENNIS                                        Case Number:           4:06CR40067-001-JPG

                                                                           USM Number:            07302-025

                                                                            David M. Williams
                                                                           Defendant's Attorney
THE DEFENDANT:
hfpleaded guilty to count(s)          1 of the Superseding Indictment.
   pleaded nolo contendere to count(s)
   which was accepted by the court.
                                                                                                  CLERK, U.S. DISTRICT COURT
   was found guilty on count(s)                                                                                     OF II I INOlS
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

'l'itle & Section                  Yature of Offense                                                          Offense Ended             Counr
                    ,&              Cb'&$&      &I&                                                                                        i.
 21 u.$&.$ae             .:                                       ...~~s       ai!bloreof a MWure              1&da006                   Is.'.'
                                    and Substance Containing Methamphetamine



       The defendant is sentenced as provided in pages 2 through               10         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                  is       are dismissed on the motion of the United States.

         I t IS ordered that the defendant must not~fythe L'n~tedStatcs attomcy for this distrtct within 30 da s of any change oiname, rcadence,
or maillng adrlrcss unt~lalltincs. restitutton, costs. and speclal asses5mmts unposed hy th~sjudgmentare fu$y pa~d.Ifordered to pay restltutlon,
the defendant must not~fythe court and Un~tedStatcs attorney of matcrlal changes in esonomlc clrsumstances.




                                                                           J . Phil Gilbert                             District Judge
                                                                                                                       Title of Judge
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A 0 2458      (Rev. 06105) Judgment in Criminal Case
              Sheet 2 - ~mprisonment


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                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  119 months (The Court is imposing a sentence of 120 months with one month credit for time sewed on related case number
  04CF84 imposed in Crawford County, IL.


      @ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



      @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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              Sheet 3 - ~upervisedRelease
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DEFENDANT: SCOTT R. DENNIS
CASE NUMBER: 4:06CR40067-001-JPG
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

 8 years on Count 1 of the Superseding Indictment.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mitto one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determmed by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 @ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 0 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule ol~aymentssheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer trutKully all inquiries by the probation officer and follow the instructions of the probation officer;
   4) the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or adpjnister any
           controlled substance or any paraphemalla related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pemsslon to do so by the profation officer;
  10)      the defendant shall pe,yit aprobation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed m plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the robation officer, the defendant shall notify,third parties of risks that may be occasioned by the defendant's criminal
           record or ?ersonaY his to^ or charactenshcs and shall pernut the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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           Sheet 3C - Supervised Release
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer,

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search.
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the t e n of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction,
 drug dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may
 require residence andlor participation in a residential treatment facility. Any participationwill require complete abstinence
 from all alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor
 testing based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed
 the total costs of counseling.

 X The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
 time as the defendant is released from the program by the probation officer.

 X    Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.

 X While incarcerated, the defendant shall make monthly payments consisting of one-half of the amount of monthly
 deposits into the defendant's inmate trust account; however, if the account balance is less than $20.00, no payment shall
 berequired,
A 0 245B
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                 sheet 5 c r i m i n a l Monetary Penalties


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CASE NUMBER: 4:06CR40067-001-JPG
                                                                             CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                      Assessment                                                             -
                                                                                                             Fine                                          Restitution
 TOTALS                             % 100.00                                                              S' 250.00                                      $ 0.00



         The determination of restitution is deferred until                                    -. An Amended Judgment in a Crzminal Case(A0 245C) will be entered
         after such determination.

         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise
         the pnonty order or percentage payment columngelow. However, pursuant to 18 Qs.8. § 36648), all nonfederal vlctlms must be p a ~ d
                                                                                                                                                                                               +
         before the United States is pald.

 Kame of Payee
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                                                                                                                                          Rertitution Ordered
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                                                                                                                                                   ,
                                                                                                                                                                      Priuritv or Pereentagg

                                                                                                                                                                            ..




 TOTALS                                                                 $                         0.00                     $                     0.00


          Restitution amount ordered pursuant to plea agreement $

 0 The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
   fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           @f the interest requirement is waived for the                                         @ fme                     restitution.
                 the interest requirement for the                                       fine             restitution is modified as follows:



 * Findings for the total amount of losses are re uired under Chapters 109A, 110, 1IOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, hut before April 23, 199%.
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           Sheet 6 -Schedule of Payments


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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    I$   Lump sum payment of $                             due immediately, balance due

                 not later than                                  , 01
                 in accordance                C,       D,          E, or    !$F below; or

 B         Payment to begin immediately (may be combined with               C,           D, or        F below); or

 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment inequal                      (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:
            While on Supe~iSedrelease, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.




 I:nless the court hasexpress1 ordcredothenvlse, ifthisjudgnlenr imposcs imprlsonrncnt. a mentofcrin~~nal
                                                                                                       inonct;lrypcnalties ihducdurln
 impr~sonmcnt. All criminaYmoneta penalties, except those payments made througf: tie Fcrlcral Bureau of Pr~sons'Inmate ~ I n a n c l J
 Ke~ponsibil~ty  Program arc nude to x e clcrk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and col~espondingpayee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




I'ayn~cnt, shall he applied in the folio\\ ing order: ( I acsessrncnt, (2) restnution pnnc~pal,(3) rsatltution intcrcst, (4) tine pnncipal,
                                                              . (8) costs. including cost of prosecution and court costs
( 5 ) fine interest. (6)community rcsntution, (7) pcna rles, dnd
